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      In The United States Court of Federal Claims
                                              No. 08-50T

                                    (Filed: September 24, 2010)
                                            __________

 TIMOTHY L. JENKINS,

                                 Plaintiff,

                         v.

 THE UNITED STATES,

                                Defendant.

                                              _________

                                               ORDER
                                              _________

        On September 23, 2010, plaintiff filed a motion seeking leave to include two sets of
additional documents in his exhibit list: (i) eight documents used as exhibits in depositions in this
case; and (ii) two documents that were not exhibits to the depositions and were recently found.
On September 24, 2010, defendant filed its opposition to plaintiff’s motion.

        After reviewing these filings, the court GRANTS plaintiff’s motion as to the eight
deposition exhibit documents, but DENIES that motion to the extent it seeks to add to the
exhibit list the two additional documents. Plaintiff shall ensure that its exhibit list and exhibit
books properly reflect the inclusion of the aforementioned eight documents.

       IT IS SO ORDERED.


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
